                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

 UNITED STATES OF AMERICA,                      )
                                                )     Case No. 1:18CR00020
                                                )
 v.                                             )          OPINION
                                                )
                                                )
 SHADE CARLTON WORKMAN,                         )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )

       Thomas T. Cullen, United States Attorney, Roanoke, Virginia, and Zachary
 T. Lee and Lena Lockridge Busscher, Assistant United States Attorneys, Abingdon,
 Virginia, for United States; Timothy W. McAfee, Big Stone Gap, Virginia, for
 Defendant.

       In this criminal case, the defendant, charged with making false statements to

 the FBI and accepting sexual favors from women informants as bribes while a state

 law enforcement officer, among other crimes, moved prior to trial to exclude

 testimony from other women he met through his position with the Virginia State

 Police and solicited for sexual acts, which the government intended to introduce

 under Federal Rule of Evidence 404(b).




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       Workman filed two Motions in Limine to exclude this evidence in which he

 argued that the evidence was inadmissible under Rule 404(b) and Rule 403.            For

 the reasons that follow, the motions have been denied.1

                                            I.

       On October 24, 2018, Workman, a Special Agent with the Virginia State

 Police, was charged in a Superseding Indictment with, among other crimes,

 program bribery by soliciting and accepting sexual favors from confidential

 informants In response to Workman’s motion for the government to identify

 404(b) evidence, the government provided notice that it intended to introduce

 evidence of Workman having sexual relationships with confidential informants

 other than those women specifically charged in the Superseding Indictment. 2 The

 government also provided notice that it intended to introduce evidence of

 Workman having sexual relationships and attempting to engage in sexual acts with

 women who were not confidential informants but who he met through his position

 with the Virginia State Police. In a supplemental notice of 404(b) evidence, the

 government identified and provided materials regarding the expected testimony of

       1
           The motions were denied orally at a pretrial hearing, based on the parties’
 submissions and oral arguments. This Opinion elaborates on the reasons for my decision.
       2
           The government contends that this testimony is direct evidence on Count One
 and therefore is not 404(b) evidence. Count One charges that the defendant lied when he
 told the FBI that he had not had inappropriate relationships or sex with any confidential
 informants. I agree.

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 three women who were not confidential informants. As it turned out, at trial the

 government offered the testimony of only one such witness — G.H. I will thus

 limit this Opinion to G.H.’s testimony as anticipated before trial, based on her prior

 statements to law enforcement.

        According to the materials submitted by the government, G.H. was expected

 to testify that sometime between November 10 and 18, 2016, she may have sold

 drugs to a confidential informant for the Tazewell County Drug Task Force. On

 December 4, 2017, Workman arrested G.H. and questioned her at police

 headquarters. During this questioning, Workman asked G.H. if she would work

 for the drug task force as a confidential informant, and she declined. Workman

 then told her that if she did not work for the task force, she would be sentenced to

 20 years imprisonment and would not see her children again. Workman also told

 G.H. that he could get her released on bond. During the questioning, Workman

  turned the recording equipment off when he made threatening statements to G.H.

        G.H. was released on bond. A week later, Workman came to her home

  unannounced and again told her that if she did not work for the task force, he

  would make sure she received a 20-year sentence and would not get custody of her

  children. He also told her that he was friends with the chief prosecutor and her

  probation officer. Workman then began touching her without her permission and

  cornered her against a wall. He unzipped his pants and forced G.H. to touch his


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 penis. G.H. told Workman that her son would be home from school soon. Before

 he left, Workman asked her if she needed anything and offered her money.

        In the following two weeks, Workman came to G.H.’s home at least seven

 times and knocked on her door, but she did not answer. G.H. also often saw

 Workman’s truck drive by her house.

        G.H. provided this information to FBI agents in two statements. In the first,

 on September 7, 2018, she told the agents about her arrest and that Workman had

 come to her home and made her feel uncomfortable, but she did not provide details

 of his conduct during that visit. In her second statement, on October 10, 2018,

 G.H. told the agents that she had left some information out of her first statement

 because she had been ashamed and afraid.         G.H. then told the agents about

  Workman’s unwanted advances during his visit to her home.

                                          II.

        Workman sought to exclude this evidence from trial on the grounds that it is

 inadmissible under Federal Rule of Evidence 404(b).         He contended that the

 evidence is not relevant and that any of its probative value is outweighed by the

 undue prejudice it will cause him. The government argued that the evidence is

 probative of Workman’s modus operandi, motive, intent, and opportunity, and it is

 thus admissible under Rule 404(b).




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       “Rule 404(b) prohibits evidence of other crimes or bad acts committed by

 the defendant if offered ‘solely to prove a defendant’s bad character, but such

 evidence may be admissible for other purposes, such as proof of motive,

 opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake

 or accident.’” United States v. McLean, 581 F. App’x 228, 233 (4th Cir. 2014)

 (unpublished) (quoting United States v. Moore, 709 F.3d 287, 295 (4th Cir. 2013)).

 “Rule 404(b) is a rule of inclusion, admitting all evidence of other crimes or acts

 except that which tends to prove only criminal disposition.” McLean, 581 F.

 App’x at 233 (quoting Moore, 709 F.3d at 295).

       The Fourth Circuit has outlined a four-factor test that must be satisfied

 before a court can properly admit prior bad acts evidence under Rule 404(b):

       (1) The evidence must be relevant to an issue, such as an element of
       an offense, and must not be offered to establish the general character
       of the defendant. In this regard, the more similar the prior act is (in
       terms of physical similarity or mental state) to the act being proved,
       the more relevant it becomes. (2) The act must be necessary in the
       sense that it is probative of an essential claim or an element of the
       offense. (3) The evidence must be reliable. And (4) the evidence’s
       probative value must not be substantially outweighed by confusion or
       unfair prejudice in the sense that it tends to subordinate reason to
       emotion in the factfinding process.


 United States v. McBride, 676 F.3d 385, 396 (4th Cir. 2012) (quoting United States

 v. Johnson, 617 F.3d 286, 296–97 (4th Cir. 2010)).          The fourth-factor test

 emphasizes that all admitted Rule 404(b) evidence must satisfy the requirements of


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 Rule 403, which allows the court to exclude relevant evidence that is unfairly

 prejudicial. United States v. Williams, 740 F.3d 308, 314 (4th Cir. 2014).

        Taking the four factors in order, the first issue is the relevance of the

 evidence. For evidence to be relevant, it must be “sufficiently related to the

 charged offense.” McBride, 676 F.3d at 397.3 “The more closely that the prior act

 is related to the charged conduct in time, pattern, or state of mind, the greater the

 potential relevance of the prior act.” Id. However, the prior act and the charged

 conduct need not be identical; rather, they “must be similar enough to be probative

 of intent.” United States v. Torrez, 869 F.3d 291, 302 (4th Cir. 2017) (quoting

 United States v. Van Metre, 150 F.3d 339, 350 (4th Cir. 1998)). “Where such acts

 are sufficiently related, the relevance of the evidence derives from the defendant’s

 having possessed the same state of mind in the commission of both the extrinsic

 act and the charged offense.” United States v. Mark, 943 F.2d 444, 448 (4th Cir.

 1991).

        In this case, there are substantial similarities between Workman’s charged

 offenses and the events described in the expected testimony from the government’s

 potential witnesses. As to Workman’s alleged conduct with G.H., it occurred

 during the same time period as the charged conduct. Moreover, it followed a

 similar pattern — Workman allegedly solicited sexual favors from G.H. while

        3
          I have omitted internal quotation marks, citations, and alterations throughout this
 opinion unless otherwise noted.
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 making express promises that he could help her with her potential criminal

 charges, including securing a favorable sentence and ensuring she would continue

 to have custody of her children.

       Turning to the next factor, evidence is “necessary” for Rule 404(b) purposes

 “when that evidence is an essential part of the crimes on trial or when that evidence

 furnishes part of the context of the crime.” McLean, 581 F. App’x at 235. By

 pleading not guilty, Workman has “placed the elements of knowledge and intent in

 play.” Id. In particular, Workman’s strategy at trial will likely be to deny that he

 solicited or accepted sexual favors or that he did so in exchange for providing any

 benefits. As described above, the alleged prior acts are probative of Workman’s

 intent with respect to this conduct. Therefore, I find that the evidence meets the

 necessity prong.

       As to the third factor, I find that the evidence is reliable. The expected

 testimony stems from statements the witnesses made to state law enforcement

 officers and FBI agents, and providing false reports to these individuals is a crime.

 Moreover, Workman has not raised any issues as to the evidence’s reliability. I

 also note that although G.H. did not provide all of the details of Workman’s

 alleged conduct in her first statement to FBI agents, she later did so, and her

 statements are not inconsistent with each other.




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       Finally, I must consider whether the Rule 404(b) evidence “has the potential

 to cause undue prejudice, and if so, whether the danger of such undue prejudice

 substantially outweighs its probative value.” United States v. Boyd, 53 F.3d 631,

 637 (4th Cir. 1995). This will not be the case “where such evidence did not

 involve conduct any more sensational or disturbing than the crimes with which the

 defendant was charged.” United States v. Byers, 649 F.3d 197, 210 (4th Cir.

 2011).

       Although the testimony involves allegations of sexual conduct that may be

 prejudicial to the defendant, it is no more sensational than the crimes with which

 the defendant is charged. Instead, its similarity to the charged conduct makes it

 probative of the elements of the relevant offenses. Thus, in balancing the probative

 value of this evidence against any risk that “the emotions of a jury will be excited

 to irrational behavior,” Williams, 740 F.3d at 314, I find that the evidence is not

 unfairly prejudicial and thus not inadmissible under Rule 403.

       In order to provide further protection against any misuse of the Rule 404(b)

 evidence, I provided a jury instruction explaining the limited purposes for which

 the jury may consider the evidence. See McBride, 676 F.3d at 396. Further, as

 required, the government provided prior notice to the defendant of its intention to

 introduce such evidence, so that the defendant could adequately prepare for it. See

 id.


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                                            DATED: April 3, 2019

                                            /s/ James P. Jones
                                            United States District Judge




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